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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

 UNITED STATES OF AMERICA,              )
              Plaintiff                 )
                                        )
                    v.                  )      No. 2:02 CR 44
                                        )
 TERENCE DILWORTH and                   )
 WILLIAM J. DAVISON,                    )
               Defendants               )

          OPINION and STATEMENT ON LIMITED REMAND AS TO
                           RESENTENCING

        In the appeals in this action taken by defendants Dilworth and Davison,

 the Court of Appeals has ordered limited remands pursuant to the procedure

 explained in United States v. Paladino, 401 F.3d 471, 484 (7th Cir. 2005). The

 purpose of a Paladino remand is so that, in what the Court of Appeals described

 as “the shortest, the easiest, the quickest, and the surest way,” that court can

 obtain this court’s determination whether it would have imposed the same

 sentence upon defendants had it known at the time of sentencing that the United

 States Sentencing Guidelines (“Guidelines”) were advisory, not mandatory. Id. at

 483.

        As directed in Paladino, this court sought the views of counsel on the

 subject, by requiring them to file memoranda “addressing the issues they deem

 pertinent to re-sentencing.” Order entered August 25, 2005. The Assistant United

 States Attorney filed a memorandum which, summed up in one sentence, argues
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 that the sentences imposed were reasonable in light of all the factors to be

 considered under 18 U.S.C. § 3553(a), and so the court should be disinclined to

 resentence the defendants. The defendants both argue that the court should

 indicate to the Court of Appeals that it wants to re-sentence the defendants, so

 that the defendants may have the opportunity to offer a raft of evidence relevant

 to the § 3553(a) factors that they neglected to offer before, believing such evidence

 irrelevant in light of the then-mandatory nature of the Guidelines.1 What that

 evidence might be is not proffered to the court: essentially, the defendants are

 asking this court to indicate to the Court of Appeals that their sentences should

 be vacated in order for them to offer unknown new evidence that might, or might

 not, persuade this court to impose a different sentence.

        The court does not believe that approach—which would mean that every

 defendant in every case falling under Paladino’s rule should be sentenced

 anew—is what the Court of Appeals contemplated as the result of its holding in

 Paladino. If the defendants believe that there is evidence that would support a

 lesser sentence, at the very least they should have made a proffer of that evidence




        1
         Defendant Dilworth also argues that the court improperly calculated his
 criminal history category. The court believes that consideration of that issue is outside
 the scope of the limited remand of the case to this court.

                                              2
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 in response to the court’s directive to address issues that would be relevant at

 resentencing.

       Considering the record as it stands and the argument of counsel based on

 that record in light of the sentencing criteria under § 3553(a), and with the

 knowledge that the Guidelines are merely advisory, the court believes that the

 sentences imposed were reasonable, appropriate, and sufficient, but not greater

 than necessary, to comply with the sentencing purposes set out in § 3553(a)(2).

 Thus, were the court to resentence defendants now, it would impose the same

 sentences. Accordingly, as to defendants Terence Dilworth and William J.

 Davison, the court hereby NOTIFIES the Court of Appeals that it would

 reimpose the same sentences on remand.



              Enter: September 26, 2005


                                         s/James T. Moody
                                        JUDGE JAMES T. MOODY
                                        UNITED STATES DISTRICT COURT
